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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: May 03, 2022.

                                                              __________________________________
                                                                        TONY M. DAVIS
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                                          §   CASE NO. 22-10293-tmd
  WC BRAKER PORTFOLIO, LLC                        §   CHAPTER 11
         Debtor.                                  §

                                   ORDER TO SHOW CAUSE

         On March 7, 2022, the Court held a hearing in an affiliate case, WC Culebra SA, LP,

  Case No. 21-10360, on a motion seeking conversion filed by the U.S. Trustee because WC

  Culebra had not filed monthly operating reports or paid U.S. Trustee fees in several months.

  Right before the hearing, the WC Culebra filed the untimely monthly operating reports, which

  strongly suggested that WC Culebra made several transfers of cash with neither lender consent

  nor Court approval. On March 8, 2022, the Court entered orders in all the bankruptcy cases

  filed by WC Culebra SA, LP’s affiliates directing them to appear and show cause why a

  chapter 11 trustee should not be appointed.

         As this Debtor is also an affiliate of WC Culebra SA, LP, the Court finds that the

  Debtor should appear and show cause why a chapter 11 trustee should not be appointed in this

  case to ensure that no unauthorized transfers are made by the Debtor, and to ensure that

  monthly operating reports are timely filed. Due to the expense this would entail, the Court

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  invites participation and comment by the Debtor’s owners, affiliates, lenders, and the U.S.

  Trustee’s office.


         ACCORDINGLY, IT IS ORDERED that the Debtor appear at a hearing on May 23,

  2022 at 2:45 p.m. and show cause why a chapter 11 trustee should not be appointed.

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